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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

JOSEPH MARVIN FEAGLE, II, a                   :
minor under the age of 18, by his             :
natural mother and guardian, KAREN            :
D. FEAGLE,                                    :
                                              :
      Plaintiff,                              :
                                              :     Civil Action File No.
v.                                            :
                                              :     1:16-CV-01598-LMM
TRANSWORLD SYSTEMS, INC., a                   :
Pennsylvania Corporation,                     :
                                              :
      Defendant.                              :
                                              :


          JOINT STIPULATION OF DISMISSAL OF PREJUDICE

      COMES NOW, Plaintiff Joseph Marvin Feagle, II, a minor under the age of

18, by his natural mother and guardian, Karen D. Feagle and by counsel, and

Defendant Transworld Systems, Inc., by counsel, pursuant to Fed. R. Civ. P. 41(a)

(1)(A), and stipulates that the above-captioned civil action be dismissed with

prejudice. Each party to bear its own costs and attorneys’ fees.

      Respectfully submitted,

/s/ Cliff R. Dorsen                    /s/ Wendi E. Fassbender
Cliff R. Dorsen, Esq.                  Wendi E. Fassbender, Esq.
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Attorney for Plaintiff            Attorney for Defendant
Joseph Marvin Feagle              Transworld Systems, Inc.




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     CERTIFICATE OF COMPLIANCE WITH LR 5.1B & 7.1D, NDGa.

      Pursuant to LR 7.1D, NDGa., I certify that this document has been prepared

with one of the font and point selections approved by the court in LR 5.1B, to wit:

[x] Times New Roman, 14 point; or

[ ] Courier New, 12 point.

                         CERTIFICATE OF SERVICE

      I certify that I have this day filed the within and foregoing JOINT

STIPULATION OF DISMISSAL OF PREJUDICE using the CM/ECF system

which shall contemporaneously serve all counsel of record pursuant to Fed. R. Civ.

P. 5(b)(2)(E) and 5(b)(3).

                                             SKAAR & FEAGLE, LLP



                                             By:     /s/ Cliff R. Dorsen
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